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                             DECLARATION OF ANDREA ROMERO
                I, Andrea Romero, declare as follows:

        1.      I am a resident of the State of New Mexico. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the New Mexico Department of Health as the

 Immunization Program Section Manager.

        3.      As New Mexico Department of Health Immunization Program, Section Manager,

 I am responsible for overseeing the vaccine distribution to all Vaccine for Children Providers and

 317 Adult Section Providers statewide and maintain the New Mexico Statewide Immunization

 Information System (NMSIIS) Registry for vaccine record access, ordering, inventory, and

 administration reporting.

        4.      Our New Mexico Department of Health recently received notices #6

 NH23IP922603-05-11 and #6 NH23IP922603-05-12 award terminations from the U.S.

 Department of Health and Human Services, Centers for Disease Control and Prevention. The

 total value of the terminated awards was $12,223,737.07. All terminations were “for cause”

 based on the end of the COVID pandemic, rather than failure of New Mexico Department of

 Health to follow the terms or conditions of the grants. Each award termination uses the same

 identical form language stating that the purpose of this amendment is to terminate the use of any

 remaining COVID-19 funding associated with this award. The termination of this funding is for

 cause. HHS regulations permit termination if “the non-Federal entity fails to comply with the

 terms and conditions of the award”, or separately, “for cause.” The end of the pandemic provides

 cause to terminate COVID-related grants and cooperative agreements. These grants and

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 cooperative agreements were issued for a limited purpose: to ameliorate the effects of the

 pandemic. Now that the pandemic is over, the grants and cooperative agreements are no longer

 necessary as their limited purpose has run out. Termination of use of funding under the listed

 document number(s) is effective as of the date set out in your Notice of Award. No additional

 activities can be conducted, and no additional costs may be incurred, as it relates to these funds.

 Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award

 activities under other funding may continue consistent with the terms and conditions of the

 award. Descriptions of each award and the effects of these terminations follow.

 COVID-19 Vaccine Implementation Supplement #3
 COVID-19 Vaccine Implementation Supplement #4
 Immunization Information System Supplement

        5.      In 2021, the Department of Health and Human Services, Centers for Disease

 Control and Prevention invited applications for COVID-19 Vaccine Implementation

 Supplements #3 and #4.

                In 2022, the Department of Health and Human Services, Centers for Disease

 Control and Prevention, invited applications for Immunization Information System Supplement.

        6.      The supplemental funds originally were focused on COVID-19 vaccine and had

 expanded to vaccine catch up for all recommended vaccines to include influenza and childcare,

 pre-school, school required vaccinations.

        7.      As set out in its grant proposal, New Mexico Department of Health intended to

 use the COVID-19 Vaccine Implementation Supplements #3 and #4 to provide vaccine

 messaging in the communities through community-based organizations under the Better

 Together Coalition that in many occasions partner at community events with a vaccine clinic for

 underserved population access, community health workers in the southwest region that visit high

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 social vulnerable populations to assist with vaccine access and education, data quality

 enhancements to the New Mexico Statewide Immunization Information System (NMSIIS),

 additional contracted staff assisting with vaccine ordering and NMSIIS help-desk, and the

 mobile vaccine unit to assist with vaccine catch up efforts in rural areas of the state that have

 limited provider access and respond to any disease outbreaks to include the current measles

 outbreak in the state.

        8.       The Immunization Information System Supplemental Grant was approved on

 8/26/22, with an expiration of 06/30/25, $587,221 was awarded, the balance remaining was

 going to be used for an enhance portion to the New Mexico Statewide Immunization Information

 System (NMSIIS).

 The COVID-19 Vaccine Implementation Supplements #3 and #4 was approved in sections on

 01/15/2021, 03/29/2021, 3/31/2021,and 05/03/2021 with an expiration of 06/30/25, $57,737,403

 was awarded, the balance remaining was going to be used to continue the mobile vaccine unit for

 the remainder of the fiscal year, 15 community based organizations under Better Together NM,

 13 community health workers in the SW region, temporary staff assisting the program with

 vaccine ordering and vaccine reporting to the NMSIIS, and maintaining a marketing campaign

 that is centralized access for the public to find a vaccine provider on a map in their community

 for respiratory season and back to school catch up. A two year no cost extension was submitted

 in February for the balance remaining to continue vaccine catch up and access efforts, especially

 with the measles outbreak response. The initial grant was focused on COVID-19 Vaccine but

 expanded to all recommended vaccines for vaccine catch up efforts. During the COVID-19

 Pandemic many vaccine coverage percentages declined due to remote learning and delayed

 appointments. The supplementals were extended to assist jurisdictions with increasing vaccine



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 coverages and access for all recommended vaccines to include required childcare, pre-school,

 school entry immunization requirements.

        9.      On 07/01/2020, HHS Agency produced a Notice of Award setting forth the terms

 and conditions of the grant award. A true and correct copy of the corresponding Notice of Award

 and its attachments, dated 07/01/2020, is attached as Exhibit A. Centers for Disease Control and

 Prevention is permitted to terminate funds only if a non-Federal recipient or subrecipient fails to

 comply with the terms and conditions of the award, or separately, “for cause.” A true and correct

 copy of the grant award termination notice is attached as Exhibit B.

        10.     Since 1/15/21, New Mexico Department of Health has used the Immunization

 Information System Supplemental and COVID-19 Vaccine Implementation Supplements #3 and

 #4 grant funds in a manner fully consistent with HHS agency’s statements regarding the nature

 of the grant and New Mexico Department of Health grant application.

        11.     The New Mexico Department of Health has conducted activities such as

 providing mobile vaccine clinics to rural, tribal, homebound, underserved population in the state,

 maintaining timely vaccine ordering and distribution, quality assurance and compliance of

 vaccine records and coverage, outreach to underserved populations needing vaccine access,

 providing a centralized marketing campaigns for the public and providers on locations and

 guidance of vaccine and access. As all these efforts have been ongoing, the vaccine coverage

 percentages have increased in the past couple of years, and the public has responded to the

 current efforts during the measles outbreak response occurring by protecting the community

 from vaccine preventable diseases. The public relies on the New Mexico Department of Health

 for vaccine guidance and access for all recommendations, its imperative for the trust in the

 community.



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        12.     $12,223,737.07 was the remaining amount of funds committed by HHS to New

 Mexico Department of Health as of March 24, 2025. Funds are drawn down monthly with our

 next draw scheduled for April 11-17, 2025. For the remainder of Fiscal year 2025, services of

 mobile vaccine clinics to rural underserved populations in the state to include the current measles

 outbreak response, messaging and planning of community events of vaccine clinics and

 awareness by 15 community based organizations that consist of multiple population focuses in

 the state (tribal, migrants, people of color, Hispanic, homeless, seniors, youth, etc. ), Community

 health workers reaching high vulnerable populations needing healthcare access in the southwest

 corridor of the state, additional contract support staff to assist with vaccine ordering and NMSIIS

 helpdesk support, enhancements to the New Mexico Statewide Immunization information

 System (NMSIIS) to maintain data quality efforts for reporting of vaccine data. If the two year

 no cost extension was approved, the additional support staff that assists with vaccine orders and

 helpdesk would have been retained for timely response of demand, the ongoing marketing

 campaign of having a centralized messaging platform the public and providers would have been

 accessible to locate a vaccine providers in the state year rounds for respiratory season and school

 vaccine catch up, and additional enhancements to the NMSIIS could have occurred to keep up

 with current registry’s in the country. It was also anticipated that when the no cost extension

 would be approved, the option of ordering adult COVID vaccine would be allowed in July of

 2025, which would’ve been a great need to the uninsured/underinsured population that cannot

 afford the COVID vaccine since the commercialization change took effect. The community

 would have taken part in many of the efforts being planned in the state for vaccine awareness

 and catch to protect the population in the state.




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        13.     The New Mexico Department of Health ensured quarterly reporting to the Centers

 of Disease Control and Prevention of activities conducted. As part of the improved vaccine

 coverages and response, the Immunization Program was asked to present at CDC headquarters

 on accomplishments made and share with other jurisdictions innovative ideas on how to improve

 vaccine access and improvement. All required reporting to include FFRs were made timely and

 in compliance of the grants

        14.     The New Mexico Department of Health has received timely extensions of funds

 with the activities that are being done for the underserved populations in the state. As a large

 rural state there are many underserved populations, different languages, and limited provider

 access that need great attention for health services like vaccine access.

        15.     On March 25, 2025, without any prior notice or indication, Department of Health

 and Human Services, Centers for Disease Control and Prevention, informed New Mexico

 Department of Health that effective March 24, 2025, its CDC-RFA-IP19-1901 Immunization and

 Vaccines for Children Supplements was being terminated as of March 24, 2025. A true and

 correct copy of the grant award termination Notice of Award is attached as Exhibit B.

         16.    The purposes described: The purpose of this amendment is to terminate the use of

 any remaining COVID-19 funding associated with this award. The termination of this funding is

 for cause. HHS regulations permit termination if “the non-Federal entity fails to comply with the

 terms and conditions of the award”, or separately, “for cause.” The end of the pandemic provides

 cause to terminate COVID-related grants and cooperative agreements. These grants and

 cooperative agreements were issued for a limited purpose: to ameliorate the effects of the

 pandemic. Now that the pandemic is over, the grants and cooperative agreements are no longer

 necessary as their limited purpose has run out. Termination of use of funding under the listed



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 document number(s) is effective as of the date set out in your Notice of Award. Impacted

 document numbers are included on page 2 of this Notice of Award (NoA). No additional

 activities can be conducted, and no additional costs may be incurred, as it relates to these funds.

 Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award

 activities under other funding may continue consistent with the terms and conditions of the

 award.

          17.   The notice did not include information regarding appeal rights and processes.

          18.   The New Mexico Department of Health has no prior notice of the termination that

 was entered in Grant Solutions Tuesday morning. The first notice of award was issued and

 followed up with a revised version with a revised expiration date. The revised notice of award

 did not explain the correction and looked to be that the funds were brought back to the original

 end date of 06/30/25 but that only pertained to the CORE funds of the Immunization Program.

 As of last week, it seemed promising that awardees would receive approvals of the two year no

 cost extensions, and the notices of terminations came out instead. There was no direct guidance

 from the Centers of Disease Control and Prevention to awardees, which is not a normal process.

          19.   New Mexico Department of Health relied and acted upon its expectation and

 understanding that HHS would fulfill its commitment to provide Immunization Information

 System Supplemental and COVID-19 Vaccine Implementation Supplements #3 and #4 funding

 it had awarded to New Mexico Department of Health. The New Mexico Department of Health

 relied on the expectation of these funds to assist the underserved populations in the state with

 vaccine access and this sudden termination has impacted services to the community needing

 assistance on their vaccine status, access, and impacting the continued need of outreach to our

 large rural state, especially during a current measles outbreak occurring, and with a significant



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 large outbreak occurring at one of the neighbor states. The community relies on the ongoing

 services for vaccine information, access, and support to the community.

 Community based organizations were impacted, several community events were being scheduled

 for spring and summer vaccine catch up efforts to include a tribal vaccine conference and

 outreach from community health workers that focus on highly vulnerable populations needing

 assistance. The services under the funds include readiness response that would include the

 current measles response occurring in the state which is imperative to control disease spread in

 the state.

         20.       Prior to the grant award termination on 3/24/25, Department of Health and

 Human Services had never provided New Mexico Department of Health with notice, written or

 otherwise, that the grant administered by New Mexico Department of Health was in any way

 unsatisfactory.

         21.       The New Mexico Department of Health has been in compliance with activities

 that are to be conducted in the grant requirements, it was anticipated that the activities would

 continue to protect the community from vaccine preventable diseases in rural and underserved

 populations.

         22.       The New Mexico Department of Health is currently under a measles outbreak in

 the southeast corridor of the state and performing preventive measure activities to control disease

 spread. The staffing of the contracts that are now being terminated assisted with providing

 planning of vaccine clinics, information, timely ordering of vaccine, assisting the public with

 vaccine status/records, and a centralized messaging platform for the public to find providers in

 their community. Public Health awareness is important from all aspects from starting at the

 agency to community trusted voices. As part of lessons learned from the pandemic it is important



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 that partnerships with community-based organizations and community health workers continue

 as these services reach those highly vulnerable populations needing healthcare service access. As

 measles outbreaks continue to spread to other states, its concerning that vaccine funds are being

 terminated while response activities are needed to prevent disease spread.

       I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

                Executed on March 28, 2025, at Santa Fe, New Mexico




                                               _____________________________________
                                               Andrea Romero




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                                            #: 2480SERVICES
                 DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                                                 6 NH23IP922603-02-05
                 Centers for Disease Control and Prevention
                                                                                                                                 NH23IP922603
                                                                                                                                                03/31/2021



Recipient Information                                                                         Federal Award Information
   Recipient Name                                                  Award Number
                                                                   6 NH23IP922603-02-05
   New Mexico Department of Health                                 Unique Federal Award Identification Number (FAIN)
   1190 S St Francis Dr Flr 4 Ste N 4100                           NH23IP922603
   Flr 4 Ste N 4100                                                Statutory Authority
                                                                   Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   Santa Fe, NM 87505-4173
                                                                   amended.
   [NO DATA]
                                                                   Federal Award Project Title
   Congressional District of Recipient                             CDC-RFA-IP19-1901 Immunization and Vaccines for Children
    03
   Payment
    1856000565C9
                                                                   93.268
    856000565
                                                                                         Program Title
         Universal Numbering System (DUNS)                         Immunization Cooperative Agreements
    808389274

                                                                   Supplement

                                                                   No
   Mrs. ERICA MARTINEZ
   IMMUNIZATION PROGRAM MANAGER                                             Summary Federal Award
   ERICA.MARTINEZ4@STATE.NM.US
                                                                    Budget Period Start Date           07/01/2020                  06/30/2021
   505-476-1451
                                                                    Total Amount of Federal Funds Obligated by                                              $24,601,924.00
                                                                         Direct Cost Amount                                                                 $24,601,924.00
   Andrea Romero
                                                                                                                                                                      $0.00
   andrea.romero@state.nm.us
   505-827-2465                                                                                                                                                $151,650.00

                                                                                                                                                                      $0.00

                                                                                                                                                            $24,676,661.00
Federal Agency Information
                                                                                                                                                                      $0.00
 CDC Office of Financial Resources
                                                                                                                                                            $49,278,585.00
9. Awarding Agency Contact Information
                                                                                                       07/01/2019                  06/30/2024
 Freda Johnson
 wve2@cdc.gov
 770.488.3107                                                                                                                                               $66,763,014.00


                                                              28. Authorized Treatment of Program Income
10.Program Official Contact Information                              ADDITIONAL COSTS
 Mr. Harry McKnight
                                                              29. Grants Management Officer – Signature
 hlm4@cdc.gov
                                                                    Brownie Anderson-Rana
 404.639.8150
                                                                    Grants Management Officer




 This funding is related to the activities under COVID-19 Vaccination Supplement 4 (April 2021)
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                                         #: 2481SERVICES
              DEPARTMENT OF HEALTH AND HUMAN
              Centers for Disease Control and Prevention                                             6 NH23IP922603-02-05
                                                                                                     NH23IP922603
                                                                                                                 03/31/2021



Recipient Information                           3 . Approved Budget
                                                (Excludes Direct Assistance)
                                                 I. Financial Assistance from the Federal Awarding Agency Only
                                                 II. Total project costs including grant funds and all other financial participation
 New Mexico Department of Health
 1190 S St Francis Dr Flr 4 Ste N 4100                                                                                   $1,833,418.00
 Flr 4 Ste N 4100                                     Fringe Benefits                                                     $751,700.00
 Santa Fe, NM 87505-4173
                                                          TotalPersonnelCosts                                            $2,585,118.00
 [NO DATA]
                                                      Equipment                                                                 $0.00

 03                                                   Supplies                                                            $212,240.00
                                                      Travel                                                               $46,371.00
 1856000565C9
                                         Data         Construction                                                              $0.00
 856000565                                           . Other                                                            $56,745,944.00
Universal Numbering System (DUNS)
                                                 . Contractual                                                           $2,119,446.00
 808389274
Recipient’s Unique Entity Identifier            j. TOTAL DIRECT COSTS                                                  $61,709,119.00
                                                     . INDIRECT COSTS                                                     $522,193.00

                                                 .                                                                     $62,231,312.00
 Cooperative Agreement
                                                       Federal Share                                                   $49,430,235.00

 Demonstration                                        Non-Federal Share                                                         $0.00


 3 .
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                           #: 2482 SERVICES Notice of Award
  DEPARTMENT OF HEALTH AND HUMAN
                                                       6 NH23IP922603-02-05
  Centers for Disease Control and Prevention
                                                       NH23IP922603
                                                                 03/31/2021
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                                        #: 2483
                              AWARD ATTACHMENTS
New Mexico Department of Health                                      6 NH23IP922603-02-05
1. Terms and Conditions-NM
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                                   #: 2484
Case 1:25-cv-00121-MSM-LDA   Document 4-31   Filed 04/01/25   Page 15 of 21 PageID
                                   #: 2485
Case 1:25-cv-00121-MSM-LDA   Document 4-31   Filed 04/01/25   Page 16 of 21 PageID
                                   #: 2486
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                                             #: 2487SERVICES
                  DEPARTMENT OF HEALTH AND HUMAN                  Notice of Award
                                                                                                                 6 NH23IP922603-05-11
                  Centers for Disease Control and Prevention
                                                                                                                 NH23IP922603
                                                                                                                                 03/24/2025



Recipient Information                                                          Federal Award Information
   Recipient Name                                   Award Number
   State of New Mexico                              6 NH23IP922603-05-11
                                                    Unique Federal Award Identification Number (FAIN)
   1190 S St Francis Dr Flr 4 Ste N 4100
                                                    NH23IP922603
   Flr 4 Ste N 4100                                 Statutory Authority
   Santa Fe, NM 87505-4173                          Sections 317, 317(k)(2) of the Public Health Service Act (42 U.S.C. Sections 247b, 247b(k)(2) and 247c), as
   505-476-8204                                     amended.
                                                    Federal Award Project Title
   Congressional District of Recipient              CDC-RFA-IP19-1901 Immunization and Vaccines for Children
   03
   Payment
   1856000565C9
                                                    93.268
   856000565
                                                                            Program Title
         Universal Numbering System (DUNS)          Immunization Cooperative Agreements
   808389274

   E7TEBXBL17P5                                     Administrative Action

                                                    No
   Ms. Andrea Romero
   andrea.romero@doh.nm.gov                                  Summary Federal Award
   505-827-2465
                                                     Budget Period Start Date           07/01/2023                  03/24/2025
                                                     Total Amount of Federal Funds Obligated by                                                        $0.00
                                                                                                                                                       $0.00
   Mr. Andrew Gans
                                                                                                                                                       $0.00
   Communicable Disease Bureau Chief
                                                                                                                                             $32,475,264.00
   andrew.gans@doh.nm.gov
   (505) 479-1187                                                                                                                             $2,571,272.00

                                                                                                                                              $9,136,517.00
Federal Agency Information
                                                                                                                                                       $0.00
 CDC Office of Financial Resources
                                                                                                                                              $9,136,517.00
9. Awarding Agency Contact Information
                                                                                                07/01/2019                 03/24/2025
 Percy Jernigan
 ibj7@cdc.gov
                                                                                                                                             $84,762,530.00
 770.488.2811


                                                 28. Authorized Treatment of Program Income
10.Program Official Contact Information              ADDITIONAL COSTS
 Ms. Randi Tolstyk
                                                 29. Grants Management Officer – Signature
 Public Health Advisor
                                                     Percy Jernigan
 kkq9@cdc.gov
 770-488-5114




 Department Authority
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                                        #: 2488SERVICES
             DEPARTMENT OF HEALTH AND HUMAN
             Centers for Disease Control and Prevention                                             6 NH23IP922603-05-11
                                                                                                    NH23IP922603
                                                                                                                 03/24/2025



Recipient Information                           3 . Approved Budget
                                                (Excludes Direct Assistance)
                                                 I. Financial Assistance from the Federal Awarding Agency Only
 State of New Mexico                             II. Total project costs including grant funds and all other financial participation
 1190 S St Francis Dr Flr 4 Ste N 4100
                                                                                                                         $6,618,022.00
 Flr 4 Ste N 4100
                                                      Fringe Benefits                                                    $2,286,507.00
 Santa Fe, NM 87505-4173
 505-476-8204                                             TotalPersonnelCosts                                            $8,904,529.00
                                                      Equipment                                                                 $0.00

 03                                                   Supplies                                                            $185,079.00
                                                      Travel                                                               $94,018.00
 1856000565C9
                                         Data         Construction                                                              $0.00
 856000565                                           . Other                                                             $5,889,177.00
Universal Numbering System (DUNS)
                                                 . Contractual                                                          $28,411,045.00
 808389274
Recipient’s Unique Entity Identifier            j. TOTAL DIRECT COSTS                                                  $43,483,848.00
 E7TEBXBL17P5
                                                     . INDIRECT COSTS                                                     $699,205.00

                                                 .                                                                     $44,183,053.00
 Cooperative Agreement
                                                       Federal Share                                                   $44,183,053.00

 Other                                                Non-Federal Share                                                         $0.00


 3 .
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                            #: 2489 SERVICES Notice of Award
  DEPARTMENT OF HEALTH AND HUMAN
                                                       6 NH23IP922603-05-11
  Centers for Disease Control and Prevention
                                                       NH23IP922603
                                                                 03/24/2025
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                                       #: 2490
                            AWARD ATTACHMENTS
State of New Mexico                                                 6 NH23IP922603-05-11
1. Terms and Conditions
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                                   #: 2491
